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                          No. 22-11873-F

         United States Court of Appeals
            for the Eleventh Circuit

            ANGEL GUZMAN, BURKE MINAHAN,
        CHRISTOPHER MILLER, and TERELL STERLING,
                                                   Plaintiffs-Appellants,
                                   v.
 ROBINHOOD MARKETS, INC., ROBINHOOD FINANCIAL LLC,
ROBINHOOD SECURITIES, LLC and CITADEL SECURITIES LLC,
                                                  Defendants-Appellees.

 Appeal from U.S. District Court for the Southern District of Florida,
  Case No. 21-md-2989, before the Honorable Cecilia M. Altonaga

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            CERTIFICATE OF INTERESTED PERSONS

     Pursuant to Fed. R. App. P. 26.1 and Eleventh Circuit Rules 26.1-1

and 26.1-2, Defendant-Appellee Citadel Securities LLC, by undersigned

counsel, hereby certifies that the following is a complete list, in

alphabetical order, of interested persons:

1.   Altonaga, Cecilia M. (U.S. District Judge, Southern District of

     Florida)

2.   Alvarado, Maria Castellanos (counsel for Robinhood Financial LLC,

     Robinhood Securities, LLC, and Robinhood Markets, Inc.)

3.   Bartlit Beck LLP (counsel for Citadel Securities LLC)

4.   Burck, William A. (counsel for Citadel Securities LLC)

5.   Citadel Securities GP LLC (parent company of Citadel Securities

     LLC)

6.   Citadel Securities LLC

7.   Cravath, Swaine & Moore LLP (counsel for Robinhood Financial

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9.   Fountain, Peter H. (counsel for Citadel Securities LLC)


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10.   Furst, Rachel W. (counsel for Plaintiffs-Appellants)

11.   Grossman Roth Yaffa Cohen, P.A. (counsel for Plaintiffs-

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12.   Guzman, Angel

13.   Hach Rose Schirripa & Cheverie, LLP (counsel for Plaintiffs-

      Appellants)

14.   Hettler, Kathryn (counsel for Plaintiffs-Appellants)

15.   Hoeflich, Adam L. (counsel for Citadel Securities LLC)

16.   Hunton Andrews Kurth LLP (counsel for Robinhood Financial LLC,

      Robinhood Securities, LLC, and Robinhood Markets, Inc.)

17.   Joseph Saveri Law Firm, LLP (counsel for Plaintiffs-Appellants)

18.   Kercher, Christopher D. (counsel for Citadel Securities LLC)

19.   LeBuhn, Mac (counsel for Citadel Securities LLC)

20.   Maggard, Abraham A. (counsel for Plaintiffs-Appellants)

21.   Miller, Christopher

22.   Minahan, Burke

23.   Mollen, Abby M (counsel for Citadel Securities LLC)

24.   Orsini, Kevin J. (counsel for Robinhood Financial LLC, Robinhood

      Securities, LLC, and Robinhood Markets, Inc.)


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25.   O’Sullivan, John F. (counsel for Citadel Securities LLC)

26.   Pavsner, Seth (counsel for Plaintiffs-Appellants)

27.   Quinn Emanuel Urquhart & Sullivan, LLP (counsel for Citadel

      Securities LLC)

28.   Robinhood Financial LLC

29.   Robinhood Markets, Inc. (stock ticker HOOD)

30.   Robinhood Securities, LLC

31.   Robinson, Dawson K. (counsel for Citadel Securities LLC)

32.   Ryan, Antony L. (counsel for Robinhood Financial LLC, Robinhood

      Securities, LLC, and Robinhood Markets, Inc.)

33.   Saveri, Joseph R. (counsel for Plaintiffs-Appellants)

34.   Schirripa, Frank R. (counsel for Plaintiffs-Appellants)

35.   Shaffer, Derek L. (counsel for Citadel Securities LLC)

36.   Sterling, Terell

37.   Sukiennik, Brittany L. (counsel for Robinhood Financial LLC,

      Robinhood Securities, LLC, and Robinhood Markets, Inc.)

38.   Torres, Edwin G. (U.S. Mag. Judge, Southern District of Florida)

39.   Williams, Steven N. (counsel for Plaintiffs-Appellants)

40.   Young, Christopher K.L. (counsel for Plaintiffs-Appellants)


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            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and 11th

Circuit Rule 26.1-2, the undersigned counsel hereby certifies that

Defendant-Appellee Citadel Securities LLC is a wholly-owned indirect

subsidiary of Citadel Securities GP LLC. Counsel further certifies that

no publicly-held corporation has a 10% or greater ownership interest in

Citadel Securities GP LLC.



December 14, 2022                       /s/ Adam L. Hoeflich
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         STATEMENT REGARDING ORAL ARGUMENT

     Given that the district court’s decision is consistent with well-

settled pleading standards, Citadel Securities believes that oral

argument is unnecessary.




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                    STATEMENT OF THE ISSUES

     1.    On January 27, 2021, trading by retail investors and social

media enthusiasm drove a precipitous increase in the price and volatility

of certain securities.   The historic and unprecedented volumes that

followed   caused   clearinghouses       to   impose    additional    collateral

requirements on brokerages that handled trades in these securities, with

one clearinghouse requiring $3 billion of increased collateral from

Robinhood alone. As a result of these increased collateral requirements,

Robinhood (like other brokerages not named as defendants here)

restricted its customers (including Plaintiffs) from buying these volatile

“meme stocks.” Was it proper for the district court, which found that

Plaintiffs’ allegations did not plausibly allege an unlawful agreement, to

consider the obvious alternative explanation that Robinhood restricted

trading because its clearinghouse required it to post $3 billion in

additional collateral in response to market volatility?

     2.    Plaintiffs alleged that Citadel Securities and Robinhood had

a vertical relationship in two markets—an upstream PFOF Market and

a downstream No-Fee Brokerage Trading App Market—but they claimed

harm in a third, unidentified market relating to securities whose prices



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decreased. Given that the Rule of Reason requires Plaintiffs to allege the

relevant market in which a harm to competition occurred, did the district

court properly hold that Plaintiffs failed to allege harm in a relevant

market?




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                           INTRODUCTION

     This case involves settled requirements for pleading an antitrust

claim. Plaintiffs invested in “meme stocks” whose prices rose sharply

during the week of January 25, 2021 and later dropped after several

brokerage firms imposed temporary trading restrictions. Plaintiffs

brought lawsuits alleging securities, state law, and antitrust claims

against market participants to recover for alleged trading losses. This

case is part of the ensuing MDL. On appeal is Plaintiffs’ challenge to the

district court’s dismissal of their antitrust complaint, in which they sued

Robinhood, one of many brokerages that imposed trading restrictions,

and Citadel Securities, one of several market-makers who filled

securities orders for Robinhood and other brokerages. Plaintiffs allege

that Robinhood imposed trading restrictions because of an unlawful

agreement with Citadel Securities and thus caused their investing losses.

     The district court properly concluded that Plaintiffs’ speculative

and conclusory claim of an antitrust conspiracy did not satisfy the

plausibility test of Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).

Plaintiffs allege a vertical nonprice restraint under Section 1 of the

Sherman Act. Companies in a preexisting vertical relationship, like



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brokerages and the market makers that fill their customer orders,

interact all the time. As the district court’s comprehensive review of the

complaint revealed, there is nothing unusual or suspect—let alone

conspiratorial—about the normal-course business interactions alleged in

this case.

     What’s more, the district court was correct to recognize the obvious

alternative explanation for Robinhood’s trading restrictions.          Shortly

before Robinhood, and other brokerages not alleged to have been part of

a conspiracy, put trading restrictions in place, the clearinghouses which

guarantee settlement of trades responded to the volatility in “meme

stock” share prices by requiring massive additional collateral from

brokerages handling retail orders, including $3 billion in additional

collateral from Robinhood alone, as Plaintiffs themselves allege. Nothing

in the case law required the district court to ignore these allegations.

Likewise, the U.S. Securities and Exchange Commission and the U.S.

House of Representatives Financial Services Committee each reported

after their own extensive examinations of the events underlying this case

that the demand for massive additional collateral led to Robinhood’s

trading restrictions.



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     Under Twombly, it is not enough for a complaint to plead a

conceivable conspiracy; it must also possess enough “heft to show that

the pleader is entitled to relief” and to “raise a reasonable expectation

that discovery will reveal evidence of illegal agreement.” 550 U.S. at 556-

57 (cleaned up); see also Quality Auto Painting Ctr. of Roselle, Inc. v. State

Farm Indem. Co., 917 F.3d 1249, 1261 (11th Cir. 2019) (en banc). The

district court properly held that plaintiffs did not plausibly plead a

conspiracy in violation of Section 1 of the Sherman Act.

     Antitrust plaintiffs must also plausibly plead “the relevant market

in which the harm occur[ed].” Jacobs v. Tempur-Pedic Int’l, Inc., 626 F.3d

1327, 1336 (11th Cir. 2010). Alleged in this case is an “anticompetitive

scheme to restrict Retail Investors’ access to specific securities in the

stock market,” which “reduced the price of the Relevant Securities that

Retail Investors either sold or held below the prices that they would have

otherwise obtained in a competitive market free of collusion.”               Am.

CCAC1 ¶¶ 1, 16.




  1 “Am. CCAC” or “Amended Complaint” refers to the January 20, 2022

Amended Consolidated Class Action Complaint (Dkt. No. 451), filed in
this Court in Volume II of Appellants’ Appendix on October 21, 2022.


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      The district court properly held that the Amended Complaint,

alleging an upstream PFOF Market (referring to the price market

makers pay brokerages for retail orders) and a downstream No-Fee

Brokerage Trading App Market (referring to the market for mobile apps

offered by brokerages) did not plausibly plead the relevant market in

which the harm occurred, especially given that the alleged harm was to

the price of securities, not to the alleged PFOF or mobile brokerage

trading app markets. Plaintiffs plead as they do because the Sherman

Act does not reach the purchase and sale of individual securities.

Kalmanovitz v. G. Heileman Brewing Co., 769 F.2d 152, 156 (3d Cir.

1985).   Given the insurmountable market definition challenges, the

district court properly found that Plaintiffs’ own “garbled” market theory

doomed their complaint. Order2 at 2, 51. On appeal, Plaintiffs do not

engage with the district court’s conclusion but instead focus on why they

have standing, which was not briefed below and is not at issue now. This

Court should affirm the dismissal of the Amended Complaint.




  2“Order” refers to the May 13, 2022 Order granting Defendants’
Motion to Dismiss the Amended Complaint (Dkt. No. 470), filed in this
Court in Volume III of Appellants’ Appendix on October 21, 2022.


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                     STATEMENT OF THE CASE

I.   STATEMENT OF FACTS

     In the closing days of January 2021, the securities markets roiled

as Plaintiffs and others—flocking to “online financial discussion forums

like Reddit, Facebook, and TikTok” where they obtained investment

advice on forums called “WallStreetBets” and from users named “Roaring

Kitty”—piled into the Relevant Securities. Am. CCAC ¶¶ 64, 127-32; see

also id. ¶ 7 (defining “Relevant Securities”). GameStop (GME) was a

primary object of Plaintiffs’ interest. Id. ¶¶ 127-32.

     Share prices for GameStop increased from $2 in 2019 to $43.03 on

January 21, 2021. Id. ¶¶ 130-32. From January 21 to January 27,

GameStop’s share price underwent what Plaintiffs describe as an “epic

price surge,” fueled by continuing social media promotion including Elon

Musk’s “Gamestonk!!” tweet. Id. ¶¶ 136-37. By January 27, GameStop’s

share price hit a high of $380. Id. ¶ 137. The Relevant Securities all

experienced similar increases. Id. ¶¶ 145-53.

     There is no doubt that this was a “period of volatility.” Id. ¶ 358.

At 5:00 p.m. on January 27, the SEC issued a statement that it was




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“actively monitoring the on-going market volatility in the options and

equities markets.” Id. ¶ 144 (internal quotation marks omitted).

        A. The securities markets as of January 27, 2021

     As Plaintiffs’ allegations make clear, the market conditions of

January 2021 generated vibrations across the infrastructure within

which securities are traded. This infrastructure consists of four general

pieces: brokerages, market makers, clearinghouses, and investors

themselves. Am. CCAC ¶¶ 83-88. At a high level, brokerages have

relationships with individual investors, who place orders that the

brokerages route to market makers to complete the trades—e.g., to match

a buyer with a seller. Id. Clearinghouses ensure that the trades settle.

Id. To understand the events of January 27 and 28, each piece of this

infrastructure warrants a closer look.

     Plaintiffs define the brokerages at issue as “zero account-minimum,

no-fee brokerages that [ ] offer a user-friendly mobile app to Retail

Investors to place orders” to buy and sell stocks, options, and other

securities.   Id. ¶ 312.   These brokerages include Robinhood, Charles

Schwab, E*Trade, and TD Ameritrade. Id. ¶ 313. No-fee brokerages

receive payment for order flow (PFOF), in which they charge market



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makers a fee for routing their customers’ orders to that market maker.

Id. ¶¶ 8, 73-78, 84. The amount of PFOF is based on the volume of orders

filled by the market maker. Id. ¶¶ 75, 221. The SEC permits PFOF. See

id. ¶¶ 79-80; 17 C.F.R. § 240.10b-10.

     Market makers assist brokerages by handling orders, whether by

filling them from their inventory or from a third party through an

exchange or other market. Am. CCAC ¶¶ 8-10. Citadel Securities is one

of many market makers; others include G1 Execution Services, Global

Execution Brokers, Two Sigma Securities, Wolverine Securities, LLC,

and Virtu Americas, LLC. Id. ¶¶ 281, 306-07.

     After a brokerage has routed the order to a market maker, which

handles the order, a clearinghouse must ensure that the order settles.

Id. ¶¶ 87-88.   For an order to settle, the security and money must

exchange hands. Id. ¶ 87. This process takes two days. Id. The two-day

delay creates a risk that one party to a trade will not meet its obligations

to deliver the security or the cash. See id. ¶¶ 87-90. To guard against

this risk, a clearinghouse requires brokers to pay a deposit—also known

as “collateral” or “margin”—that the clearinghouse holds until the trade




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is settled. Id. ¶¶ 90, 374. The amount of deposit is based on risk factors

like market volatility. Id. ¶ 90.

        B. Retail investor activity drives increased volatility,
            increased collateral requirements, and brokerage
            restrictions

     On January 27, retail investors crowded into the securities

markets. Am. CCAC ¶ 137. Meme stock prices “soared” over a matter of

days, with each of the Relevant Securities seeing price increases around

100% and 300% over the days prior. Id. More than 24 billion shares were

exchanged—a new record.        Id.      Acknowledging this unprecedented

activity, the SEC issued a warning about “on-going market volatility.”

Id. ¶ 144 (internal quotation marks omitted).             This volatility was

noteworthy to the clearinghouses, which must ensure that all of these

trades properly settle. See id. ¶¶ 87-90, 178.

     On January 28, at 5:11 a.m., the National Securities Clearing

Corporation (“NSCC”) sent Robinhood a notice requiring it to deposit an

additional $3 billion in collateral. Id. ¶ 178. This marked a tenfold

increase over what NSCC had required just days earlier. Id. ¶ 262. After

receiving the notice, Robinhood raised over $1 billion “to help meet rising

demands for cash” and accessed over $500 million in credit “to ensure it



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had the capital required to keep allowing its clients to trade the Relevant

Securities.” Id. ¶ 261. Like many other brokerages, Robinhood also

temporarily restricted its customers from purchasing the Relevant

Securities that were driving the volatility. Id. ¶ 180. Robinhood imposed

a “position close only” restriction on the Relevant Securities, which

allowed Robinhood customers to sell the securities but not to make

additional purchases. Id. ¶¶ 179, 186, 189.

     At least eleven other brokerages also imposed trading restrictions

relating to these securities during this period of market volatility,

including Ally, Charles Schwab, Dough, E*Trade, Interactive Brokers,

Public.com, SoFi, Stash, Tastyworks, TD Ameritrade, and Webull. Id.

¶¶ 195, 365-68.3 Following these limitations, the prices of the Relevant

Securities declined. Am. CCAC ¶ 199.

     Robinhood publicly explained that it imposed trading restrictions

due to volatility and collateral requirements. Id. ¶ 411. Regulators

reached the same conclusion. After investigating the trading restrictions


  3 Although Plaintiffs previously alleged that many of these brokerages

were part of the purported conspiracy, they no longer contend that these
brokerages’ trading restrictions were the result of an allegedly improper
agreement. See Supp. App., Dkt. No. 358 (Consolidated Class Action
Complaint).


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imposed by many brokers in late January, the SEC concluded that

“brokers experienced intraday margin calls from a clearinghouse” and

“[i]n reaction, some broker-dealers decided to restrict trading.” SEC,

Staff Report on Equity and Options Market Structure Conditions in Early

2021 at 43 (Oct. 14, 2021), available at https://www.sec.gov/files/staff-

report-equity-options-market-struction-conditions-early-2021.pdf

[hereinafter, “SEC Staff Report”]. The SEC echoed this view during

subsequent rulemaking designed to address the collateral issue, finding

that broker-dealers restricted trading in light of collateral costs in

January 2021, “following heightened interest in certain ‘meme’ stocks.”

See Shortening the Securities Transaction Settlement Cycle, 87 Fed. Reg.

10436, 10482 n.337 (Feb. 24, 2022) (hereinafter, “Proposed Rule”).

Likewise, the U.S. House Committee on Financial Services majority

report concluded that Robinhood’s trading restrictions arose from the

unprecedented and unexpected collateral requirement: “[f]aced with an

extremely large deposit requirement . . . [Robinhood] attempted to

mitigate the volatility that it believed was driving its collateral deposit

requirements.” U.S. House Comm. on Fin. Servs., 117th Cong., GAME

STOPPED: How the Meme Stock Market Event Exposed Troubling



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Business Practices, Inadequate Risk Management, and the Need for

Legislative and Regulatory Reform at 72 (June 2022), available at

https://financialservices.house.gov/uploadedfiles/6.22_hfsc_gs.report_

hmsmeetbp.irm.nlrf.pdf [hereinafter, “Game Stopped Report”].                  It

reached a similar conclusion for other brokerages. Id. at 76.4

     Plaintiffs have alleged a nefarious motive behind Robinhood’s

decision to impose these trading restrictions (but only Robinhood’s

decision, and not the similar decisions of other brokerages). Am. CCAC

¶ 1. They allege that Robinhood and Citadel Securities “hatched an

anticompetitive scheme to limit buy-side trading in the Relevant

Securities.”   Id. ¶ 154; see also id. ¶ 13 (alleging agreement that

“artificially suppressed” prices of “securities that would have otherwise

traded freely on the stock market”). Plaintiffs further allege that Citadel

Securities possessed short positions in the Relevant Securities which

purportedly gave it a motive to force Robinhood—and for some reason

only Robinhood—to restrict trading in the stock market. Id. ¶¶ 298, 394.


  4 The Court may take judicial notice of the SEC Staff Report, Proposed

Rule, and Game Stopped Report, as “public records are among the
permissible facts a [ ] court may consider.” Laskar v. Peterson, 771 F.3d
1291, 1295 n.3 (11th Cir. 2014); see also Universal Express, Inc. v. S.E.C.,
177 F. App’x 52, 53 (11th Cir. 2006) (per curiam) (same).


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Although Plaintiffs concede that generally “it is not possible to ascertain

which investor has a short position in a particular security at any

particular time,” they still made conclusory allegations that Citadel

Securities sought to exit those positions. Id.

II.   PROCEDURAL HISTORY

      In the order on appeal, the district court dismissed with prejudice

Plaintiffs’ attempt (their third) to plead an antitrust claim. Background

leading up to that dismissal follows.

      Shortly after the stock prices for certain meme stocks dropped,

Plaintiffs filed multiple lawsuits in federal courts alleging securities

claims, state law claims, and antitrust claims against a variety of

defendants. The Judicial Panel on Multidistrict Litigation transferred

related complaints to the Southern District of Florida. In re January

2021 Short Squeeze Trading Litig., Case No. 1:21-md-02989-CMA (S.D.

Fla.). The district court divided the various claims into four “tranches.”

This appeal addresses only the Antitrust Tranche. Plaintiffs’ securities

suits against Robinhood based on substantially the same facts survived




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motions practice and continue to proceed. See App. Vol III5, Dkt. No. 503

at 52 (denying motion to dismiss the Securities Tranche). 6

      In their first complaint, plaintiffs alleged that 35 defendants agreed

to participate in a “large, overarching conspiracy to prevent the market

from operating freely.” See, e.g., Supp. App., Dkt. No. 1 at 1 (Cheng v.

Ally Fin. Inc., No. 3:21-cv-00781 (N.D. Cal.)). Once in the MDL, the

district court ordered the defendants, including Robinhood and Citadel

Securities, to produce discovery comprising “[r]ecords already produced

by Defendants to Congress and other government entities.” Supp. App.,

Dkt. No. 323 at 2.

      With the benefit of tens of thousands of pages of discovery,

Plaintiffs prepared their Antitrust Tranche complaint. Supp. App., Dkt.

Nos. 358, 408.       They alleged that 15 “market players hatched an




  5 Citations to Plaintiffs’ Appendix will be in the form “App. Vol. #, Dkt.

No. # at Page.” Citations to Defendant’s Supplemental Appendix will be
in the form “Supp. App., Dkt. No. # at Page.”
  6 In the two other tranches, Plaintiffs alleged tort claims against
Robinhood and the other brokerages. The Other Broker Tranche was
dismissed. Supp. App., Dkt. No. 450. The Robinhood Tranche was
dismissed with prejudice. Supp. App., Dkt. No. 453. It is now on appeal.
See generally Juncadella v. Robinhood Fin. LLC, No. 22-10669 (11th
Cir.).


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anticompetitive scheme to restrict Retail Investors’ access to the stock

market and prevent the market from operating freely and fairly.” Supp.

App., Dkt. No. 358 ¶¶ 1, 42-76. Defendants moved to dismiss, and after

briefing the district court concluded that Plaintiffs failed to allege an

unlawful agreement and dismissed their claims without prejudice. Supp.

App., Dkt. No. 438 at 50.

     In the third complaint—the Amended Complaint at issue in this

appeal—Plaintiffs dropped 13 of the 15 initial defendants, leaving only

Robinhood and Citadel Securities—despite the other brokerages’ having

imposed restrictions similar to those Robinhood imposed. Am. CCAC

¶¶ 42-49. On May 13, 2022, the district court dismissed the Amended

Complaint, as Plaintiffs failed to plausibly allege (1) an agreement or (2)

the relevant market in which the purported harm occurred. Order at 52-

53. Plaintiffs filed their Notice of Appeal on June 1, 2022. Supp. App.,

Dkt. No. 474.

III. STANDARD OF REVIEW

     This Court reviews the decision to dismiss an antitrust complaint

for failure to state a claim de novo. Spanish Broad. Sys. of Fla., Inc. v.

Clear Channel Commc’ns, Inc., 376 F.3d 1065, 1070 (11th Cir. 2004).



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                  SUMMARY OF THE ARGUMENT

     To adequately allege a Section 1 claim, Plaintiffs must plausibly

show (1) an agreement that (2) unreasonably restrains trade. See Quality

Auto Painting, 917 F.3d at 1260-61. The district court correctly found

that Plaintiffs did not adequately allege either element.

     First, Plaintiffs did not plausibly allege an agreement between

Robinhood and Citadel Securities.       Not only are there no plausible

allegations of an unlawful agreement to restrict trading, the Amended

Complaint pleads an obvious alternative explanation for Robinhood’s

conduct—the historic market volatility and related significant collateral

requirements that led Robinhood (and many other brokerages not named

as defendants) to impose trading restrictions. Plaintiffs unsuccessfully

attempt to wave off this explanation by arguing that a district court may

not consider alternative explanations. That is wrong. The Federal Rules

not only permit but require a court to take these explanations into

account.   Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).          “Determining

whether a complaint states a plausible claim for relief will . . . be a

context-specific task that requires the reviewing court to draw on its

judicial experience and common sense.”           Id.   Under this Court’s



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precedent, Plaintiffs must present allegations showing why an unlawful

conspiracy is “more plausible” than ordinary, lawful conduct. Jacobs, 626

F.3d at 1342.

     Plaintiffs contend that they alleged both direct and indirect

evidence showing a conspiracy. They failed to allege either. Indeed,

Plaintiffs did not argue in the district court that they had direct evidence

of an agreement. See Order at 26-27 (noting that Plaintiffs did not argue

that they had direct evidence).          They cannot present these new

arguments on appeal.      See infra at 26 n.7. Nor do Plaintiffs allege

sufficient indirect, or circumstantial, evidence. Because Plaintiffs had the

benefit of significant discovery before preparing their complaint, they

have had access to a large volume of communications between Robinhood

and Citadel Securities. But the communications they allege in their

complaint concern normal exchanges between companies in a business

relationship, not an unlawful agreement.            See Am. CCAC ¶ 242

(Robinhood email asking for “the new Citadel numbers”).              Likewise,

Plaintiffs fail to plausibly allege a motive for Citadel Securities and

Robinhood to agree to restrict trade. Plaintiffs do not allege that Citadel

Securities attempted to stop any brokerage from submitting orders for



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the Relevant Securities (other than Robinhood) or that Citadel Securities

stopped filling orders in the Relevant Securities for any broker who

placed them.

     Second, Plaintiffs failed to allege an unreasonable restraint of

trade. Plaintiffs have alleged the existence of two markets here—but

neither market is the one in which competition was allegedly harmed.

Plaintiffs do not contest that their claims are properly considered under

the Rule of Reason, App. Br. at 40 n.15, which first requires Plaintiffs to

define the market in which the harm occurred, as “courts usually cannot

properly apply the rule of reason without an accurate definition of the

relevant market.” Order at 47 (quoting Ohio v. Am. Express Co., 138 S.

Ct. 2274, 2285 (2018)). Here, Plaintiffs have failed to allege harm in a

“relevant market.” Jacobs, 626 F.3d at 1336.

     The district court found that rather than identifying harm in the

two identified markets—the PFOF market and the No-Fee Brokerage

Trading App Market—–Plaintiffs instead alleged harm to competition in

a separate market: the securities market. Order at 49-50. Indeed, the

Amended Complaint alleges an “anticompetitive scheme to restrict Retail

Investors’ access to specific securities in the stock market.” Am. CCAC



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¶ 1 (emphasis added). The stock market is not one of the markets that

Plaintiffs allege to be relevant. (Nor could it be, as the Sherman Act does

not reach the purchase and sale of individual securities. Kalmanovitz,

769 F.2d at 156.) This mismatch is fatal to their claims.

     Rather than address this deficiency, Plaintiffs attempt to divert

this Court’s attention by citing to a number of “antitrust standing” cases.

They are irrelevant. These cases address whether a plaintiff can enforce

an already established claim where harm has been alleged in a relevant

market—and the claim on appeal was never adequately alleged.

     Given the deficiencies in Plaintiffs’ arguments, this Court should

affirm the district court’s dismissal of the Amended Complaint.

                               ARGUMENT

I.   Plaintiffs did not plausibly allege the existence of an
     agreement to restrain trade

     “To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible

on its face.” Iqbal, 556 U.S. at 678 (internal quotation marks omitted).

“A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant

is liable for the misconduct alleged.” Id.


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      To allege a plausible claim, the complaint must allege “enough fact

to raise a reasonable expectation that discovery will reveal evidence of

illegal agreement.” Twombly, 550 U.S. at 556. If “the well-pleaded facts

do not permit the court to infer more than the mere possibility of

misconduct,” then the plaintiff has not shown that he or she is entitled to

relief under Rule 8(a). Iqbal, 556 U.S. at 679. An antitrust plaintiff

asserting a conspiracy to restrain trade must provide allegations that

“raise a reasonable expectation that discovery will reveal evidence of

illegal agreement.” Quality Auto Painting, 917 F.3d at 1261 (quoting

Twombly, 550 U.S. at 556); see also Tidmore Oil Co. v. BP Oil Co./Gulf

Prods. Div., 932 F.2d 1384, 1388 (11th Cir. 1991) (“The first inquiry[ ] in

any   [S]ection 1 claim . . . is to locate the agreement that restrains

trade.”).

      Instead of plausibly suggesting an agreement, Plaintiffs ignore the

obvious explanation for Robinhood’s conduct and assert an account based

solely on circumstantial allegations that is implausible in its own right.

This is inadequate to state a claim.




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       A. The district court correctly considered the obvious
           alternative explanation for the conduct Plaintiffs
           allege

     The district court held that the Amended Complaint provides “an

obvious alternative explanation for the trading restrictions: the increased

collateral requirements imposed by the NSCC in response to

unprecedented market volatility.” Order at 41, 52 (internal quotation

marks omitted). Plaintiffs argue that the district court erred by offering

“its own admittedly alternative explanations” for the evidence on which

Plaintiffs based their conspiracy allegations. App. Br. at 28-29 (cleaned

up). According to Plaintiffs, the district court erred because “we are at

the motion to dismiss stage, not the summary judgment stage”—so

“‘alternative explanations’ are not a proper consideration.” Id. at 29.

This argument is flatly wrong. Contrary to Plaintiffs’ arguments, courts

are not required to check their common sense at the door when ruling on

a motion to dismiss.      In fact, courts must consider “more likely

explanations,” Iqbal, 556 U.S. at 681, and “obvious alternative

explanation[s],” Twombly, 550 U.S. at 567.          As the Supreme Court

observed in Iqbal, the plaintiffs in Twombly had failed to “plausibly

suggest an illicit accord because it was not only compatible with, but



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indeed was more likely explained by, lawful, unchoreographed free-

market behavior.” 556 U.S. at 680. As this Court previously stated, a

plaintiff has the burden of presenting allegations “showing why it is more

plausible” that the defendants entered into an unlawful agreement than

acted independently. Jacobs, 626 F.3d at 1342.

     This Court regularly affirms where district courts considered such

alternatives when dismissing a complaint for failure to state a claim. See

Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010)

(“[T]he Court held in Iqbal, as it had in Twombly, that courts may infer

from the factual allegations in the complaint obvious alternative

explanations, which suggest lawful conduct rather than the unlawful

conduct the plaintiff would ask the court to infer.” (cleaned up)); see also

Auto. Alignment & Body Serv., Inc. v. State Farm Mut. Auto Ins. Co., 953

F.3d 707, 728-29 (11th Cir. 2020) (dismissing antitrust complaint

because the loss of business that plaintiffs alleged “could just as plausibly

be explained by any number of legitimate market forces”); Quality Auto

Painting, 917 F.3d at 1266 (dismissing antitrust complaint because

“legitimate business strategy” rationally “explain[s] why there is

uniformity in price”).



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     And in this case, the obvious alternative explanation—which is

found in Plaintiffs’ own allegations—is impossible to ignore. Between

January 21 and January 27, 2021, the prices of the Relevant Securities

skyrocketed: GameStop, for instance, jumped from $43 to $380. Am.

CCAC ¶¶ 130-32, 137; see also id. ¶¶ 145-53 (alleging similar increases

for other Relevant Securities). On January 27, the SEC stated it was

“actively monitoring the on-going market volatility.” Id. ¶ 144 (internal

quotation marks omitted).       Early the next morning, Robinhood’s

clearinghouse, the NSCC, issued a notice that Robinhood needed to

provide $3 billion in additional collateral. Id. ¶ 178. These collateral

requirements are based on risk factors like market volatility. Id. ¶¶ 88-

90. As Plaintiffs allege, Robinhood went on to raise more than $1.5 billion

in additional funds “to ensure it had the capital required to keep allowing

its clients to trade the Relevant Securities.” Id. ¶ 261. The restrictions

that Robinhood imposed were far from unique.             Id. ¶¶ 195, 365-68.

Nearly a dozen other brokerages also imposed trading restrictions during

the same period relating to these securities. Id.

     Taken together, these allegations show that Robinhood’s trading

restrictions occurred in a context of unprecedented market volatility



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giving rise to significantly increased new collateral requirements from

clearinghouses, and comparable trading restrictions from other

brokerages not alleged to be part of the conspiracy. These allegations

lead to an obvious alternative explanation: the restrictions arose as a

result of market volatility and collateral requirements, not because of an

unlawful agreement. Governmental regulators have reached the same

conclusion: reports from the SEC and from the U.S. House Committee on

Financial Services found that Robinhood imposed its restrictions only

after receiving “an extremely large deposit requirement on the morning

of January 28, 2021 . . . which Robinhood would have been unable to

satisfy.” Game Stopped Report at 72; see also generally SEC Staff Report;

Proposed Rule. In “draw[ing] on its judicial experience and common

sense,”    the   district   court   properly     considered     the    alternative

explanations—again, drawn from Plaintiffs’ own complaint—for the

alleged conduct. Iqbal, 556 U.S. at 679.

          B. Plaintiffs’ “direct” allegations of a conspiracy is a
               single email sent in the course of ordinary business

     Plaintiffs claim on appeal to have provided “direct evidence that

Robinhood was ‘on board’ with imposing the restrictions to save Citadel

from massive losses if the short squeeze continued unabated.” App. Br.


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at 28. This argument—which Plaintiffs abandoned at the district court

—is not just inconsistent with Plaintiffs’ Amended Complaint. 7 See Am.

CCAC ¶ 233 (“[T]he details of these communications have not yet been

disclosed . . . .”). It is also wrong. A showing of direct evidence of a

conspiracy is only met when plaintiff alleges the existence of a conspiracy

through evidence that does not require reliance on any inferences. See

Mayor & City Council of Balt. v. Citigroup, Inc., 709 F.3d 129, 136 (2d

Cir. 2013). Direct evidence of an agreement in violation of the antitrust

laws “would consist, for example, of a recorded phone call in which two

competitors agreed to fix prices at a certain level.” Id.

      Plaintiffs’ allegations fail to clear this high bar. Plaintiffs argue the

alleged direct evidence via a single email in which a Robinhood employee


  7  When Defendants moved to dismiss Plaintiffs’ original MDL
Complaint, Plaintiffs argued that they had alleged a conspiracy through
direct evidence. See Supp. App., Dkt. No. 438 at 27-31. After the District
Court rejected Plaintiffs’ argument, Plaintiffs chose not to advance it
again when responding to Defendants’ motion to dismiss the Amended
Complaint—so the District Court did not address it. See Order at 26-27
(“Plaintiffs do not argue [that the Amended Complaint contained direct
evidence of an agreement] and instead focus on whether there is
circumstantial evidence of an agreement.”). Accordingly, this Court
should refuse to consider Plaintiffs’ direct-evidence argument on appeal.
See Calzadilla v. Banco Latino Internacional, 413 F.3d 1285, 1287 (11th
Cir. 2005) (“Generally, this court does not consider an issue or theory on
appeal that was not raised in the district court.”).


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states: “We are on board.” See App. Br. at 3, 23, 28. While Plaintiffs

contend on appeal that email is a “smoking gun” subject to “no other

reasonable inference” than confirmation of a conspiracy, the Amended

Complaint explicitly recognizes that Plaintiffs do not know “the details of

these communications.” Id. at 3, 23; Am. CCAC ¶ 233. Plaintiffs made

the same concession in briefing the motion to dismiss before the district

court,   expressly   acknowledging       that    “the   substance      of    the

communications” leading to this email were not known. App. Vol. III,

Dkt. 459 at 9.

     Plaintiffs’ bald-faced reversal aside, and as the district court

properly found, Robinhood and Citadel Securities have a preexisting

business relationship. They of course communicate and regularly enter

into agreements in the normal course of business. This singular email is

far from a recorded phone call in which two competitors agreed to fix

prices. Plaintiffs allege nothing further that shows Robinhood was “on

board” with a conspiracy to restrain trade—as opposed to any other

aspect of the parties’ established (and legal) business relationship. See

Am. CCAC ¶¶ 73, 76-78. This is not “smoking gun evidence.” App Br. at

3. Plaintiffs have not alleged direct evidence of a conspiracy.



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       C. Plaintiffs’ “circumstantial” allegations of a conspiracy
            show only lawful behavior between business
            partners

     Plaintiffs also claim to have presented sufficient circumstantial

allegations of a Section 1 conspiracy. Their purported circumstantial

allegations fall into five categories: (1) interfirm communications; (2)

common motive to conspire; (3) acts of concealment; (4) concerted

pretextual explanations; and (5) market structure and behavior. 8 App.

Br. at 28-39.

     As the district court properly found, Plaintiffs’ allegations (both

individually and together) do not create a plausible inference of

conspiracy. Further, none defeats the “obvious alternative explanation”

that Robinhood—just like many other brokerages—imposed trading

restrictions to address heightened market volatility and the collateral

requirements that followed. See Twombly, 550 U.S. at 554 (allegations

of coordinated conduct “prompted by common perceptions of the market”



  8 Plaintiffs spread their purported circumstantial allegations across

two sections of their brief: one addressing the “who, what, where, when,
how, and why of the conspiracy” and another addressing “plus factors
plausibly establishing a conspiracy.” App. Br. at 22, 26. For the sake of
clarity, Citadel Securities considers all of Plaintiffs’ circumstantial
allegations at one time.


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do not give rise to an inference of unlawful agreement). Dismissal is

appropriate where, as here, well-pleaded facts do not permit the court to

infer anything more than “the mere possibility of misconduct.” Iqbal, 556

U.S. at 679.

            1.    Plaintiffs’ conclusory “interfirm
                  communications” allegations do not support a
                  plausible inference of an illegal agreement.

      Plaintiffs argue that the district court failed to properly consider

“interfirm communications between high-level employees of Citadel and

Robinhood leading up to the imposition of the January 28 trading

restrictions.”   App Br. at 28.   But the various communications that

Plaintiffs cite do not create a reasonable inference that Citadel Securities

and Robinhood conspired to restrict trading. Neither the timing nor the

substance of the communications Plaintiffs cite indicates (or even

suggests) that Citadel Securities had advance notice of Robinhood’s

decision to restrict on trading of any of the Relevant Securities, much less

that Citadel Securities manufactured a conspiracy to impose those

restrictions.

      It is unsurprising that Robinhood and Citadel Securities

communicated in the days leading up to January 28. As the Amended



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Complaint alleges, trading levels reached unprecedented volume in the

runup to January 28, leading to increased volatility. Am. CCAC ¶ 137

(“On January 27, 2021 . . . trading volumes in U.S. cash equities and

options hit an all-time record level at 24.5 billion shares traded and 57.1

million contracts traded.”); ¶ 144 (“[O]n January 27, 2021, the SEC

released a statement that it was ‘aware of and actively monitoring the

on-going market volatility in the options and equities markets.’”). As the

district court rightly held: “Given the PFOF relationship between

Robinhood and Citadel Securities”—a key factor of which is the volume

of orders sent to Citadel Securities, see id. ¶¶ 75, 221—“it would be

understandable for employees [at Robinhood and Citadel Securities] . . .

to communicate about what impact the squeeze might have on each

party’s ability to fulfill its obligations.” Order at 36-37. The timing and

frequency of communications between Robinhood and Citadel Securities

shows—at most—that Robinhood and Citadel Securities had “an

opportunity to conspire.” Order at 35. But that is not sufficient to push

Plaintiffs’ conspiracy allegations from possible to plausible. Williamson

Oil Co. v. Philip Morris USA, 346 F.3d 1287, 1319 (11th Cir. 2003) (“[T]he

mere opportunity to conspire among antitrust defendants does not,



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standing alone, permit the inference of conspiracy.” (internal quotation

marks omitted)).

     Neither is the substance of the communications that Plaintiffs rely

on. Plaintiffs cite a variety of uncontextualized emails, see App. Br. at 24

(citing Am. CCAC ¶¶ 237, 239-46, 258-60)—none of which suggest that

Robinhood and Citadel Securities conspired to restrict trading. See Order

at 38 (“Plaintiffs admit they do not know the substance of these

conversations [between Robinhood and Citadel Securities].” (internal

quotations omitted)). Contrary to Plaintiffs’ argument, the district court

is not required to adopt their explanation for these communications. As

the Supreme Court has stated, “[d]etermining whether a complaint

states a plausible claim for relief will . . . be a context-specific task that

requires the reviewing court to draw on its judicial experience and

common sense.” Iqbal, 556 U.S. at 679. See Twombly, 550 U.S. at 567-

68; Am. Dental. Ass’n, 605 F.3d at 1290. And here, the district court

rightly held that the communications pleaded by Plaintiffs had an

“obvious alternative explanation”—which is the existing business

relationship between Robinhood and Citadel Securities. See Iqbal, 556

U.S. at 678 (plaintiffs are only entitled to “reasonable inference[s]”).



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     Plaintiffs’    allegations   of     a    few    “vague     and     ambiguous

communications,” Order at 37, between Robinhood and Citadel Securities

does not create a reasonable inference of an unlawful agreement.

           2.      Plaintiffs’ allegations of motive do not support
                   an inference of a conspiracy.

     Plaintiffs argue that they plausibly alleged a common motive to

conspire: Citadel Securities allegedly held a short position in the

Relevant Securities that risked substantial losses and, by leveraging its

PFOF payments, it coerced Robinhood—and none of the many other

brokerages who restricted trading—into agreeing to the restrictions. See,

e.g., Am. CCAC ¶ 2. Even though Robinhood regularly routed trades for

the Relevant Securities to other market makers who pay PFOF, Plaintiffs

allege that Robinhood agreed to the wholesale restriction of trading given

the importance of its business relationship with Citadel Securities and

the prospect of an upcoming initial public offering. App. Br. at 30.

     Plaintiffs have advanced an inadequate theory of motive. As the

district court held, “[t]he mere fact that Citadel Securities is an

important business partner of the other Defendants does not provide

sufficient motive to conspire.” Supp. App., Dkt. No. 438 at 37. Courts

are often skeptical of allegations of common motive where the motive


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reflects normal and ordinary market conduct. In the context of horizontal

conspiracies, allegations of common motive do not support an inference

of conspiracy if they simply make the “legally insufficient” point that

market participants acted in interdependent ways, as this is regular and

lawful behavior. See Mayor & City Council of Balt., 709 F.3d at 138-39

(discussing inadequacy of alleged common motives for a horizontal

conspiracy that were explained by interdependent conduct). The same

situation exists here. If Plaintiffs can allege that a business relationship

supports an inference of conspiracy, then virtually every allegation of

vertical conspiracies will come out of the gate with an inference

suggesting a conspiracy, as vertical conspiracies regularly involve pre-

existing business relationships.

     Moreover, Plaintiffs’ alleged motive suffers from significant

deficiencies. Plaintiffs do not explain why Citadel Securities would have

coerced only Robinhood into the trading restrictions and not any other

brokerage. They do not allege why Citadel Securities would need to

coerce Robinhood into similar trading restrictions to those that all of

Robinhood’s competitors imposed without coercion. There is also no valid

explanation why Robinhood would submit to pressure on this front when



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it could continue to route trades (and collect PFOF) from other market

makers. And they do not allege that Citadel Securities itself ever stopped

filling orders in the Relevant Securities. These deficiencies show that

Plaintiffs failed to identify a plausible motive for Citadel Securities to

encourage Robinhood, and Robinhood alone, to restrict trading.

     Instead of addressing these gaps in their theory, Plaintiffs try to

poke holes in the district court’s holding. They contend that the district

court erred in finding that their allegations were “somewhat speculative

and conclusory.” App. Br. at 31 (quoting Order at 31). The allegations

are speculative and conclusory. And the district court did not misapply

the legal standard in concluding that “[p]laintiffs’ proffered motive theory

. . . tenuously rests upon a series of inferences.” Order at 31.

     Plaintiffs contend that the district court made a second error when

it concluded that they had not adequately alleged a motive. They argue

that the district court inconsistently applied the Rule 8 standard because

in the Securities Tranche it found that Robinhood had a motive to

manipulate securities but in the Antitrust Tranche it did not find strong

evidence of a motive to enter into the alleged anticompetitive agreement.

App. Br. at 31 n.12. There was no inconsistency between these holdings.



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In the Securities Tranche, plaintiffs alleged that Robinhood did not

accurately describe the reasons for its trading restrictions, which

plaintiffs alleged to include the massive collateral call. App. Vol. III, Dkt.

No. 503 at 29 (Robinhood had “implemented the restrictions because it

did not have capital to pay the collateral requirements spawned by the

volatile market.”).      The Securities Tranche plaintiffs therefore

acknowledged that the restrictions are explained by the collateral

requirements, not an imagined conspiracy. The massive collateral call

exists in the Antitrust Tranche as well—but it contradicts Plaintiffs’

concocted conspiracy, so Plaintiffs are attempting to argue that the

collateral call was not an important factor. Am. CCAC ¶ 1. Plaintiffs,

not the district court, are treating these allegations inconsistently.

            3.    Plaintiffs’ “acts of concealment” allegations
                  reflect run-of-the-mill communications between
                  business partners.

      Plaintiffs claim to have alleged certain “acts of concealment” that

should be considered evidence showing a conspiracy. App. Br. at 32-33.

But the acts that Plaintiffs identify—using “telephone calls” to

communicate, “cop[ying] attorneys on emails,” and touching base to

“coordinate messaging,” see id. at 32—only indicate that Citadel



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Securities and Robinhood did business together. Plaintiffs do not point

to any authority suggesting that these actions support an inference of a

conspiracy, nor do they offer any allegations (other than their say-so) that

suggest these actions were either abnormal or unlawful.

     Plaintiffs rely on In re Publication Paper Antitrust Litigation, 690

F.3d 51 (2d Cir. 2012) (hereinafter, “Publication Paper”), claiming it held

that “private phone calls and meetings––for which no social or personal

purpose has been persuasively identified suggested conspiratorial

communications.” App. Br. at 32 (internal quotation marks omitted).

That is not what Publication Paper held.             If it did, every private

communication     between    business     partners     would       be   presumed

conspiratorial. Instead, the Second Circuit held—in a case involving an

alleged    horizontal    price-fixing     conspiracy      between       business

competitors—that private phone calls and meetings between the

business competitors were evidence of conspiracy because during those

phone calls and meetings, the competitors “shared [ ] pricing strategies,”

“disclosed to each other their [ ] intentions to increase prices before those

decisions had been publicly announced,” and “developed a ‘joint story’ to

conceal from the government the true nature of their communications.”



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Publication Paper, 690 F.3d at 65.            It was the content of the

communications—not the standalone fact that they were conducted

“private[ly]” or without a “social or personal purpose,” App. Br. at 32—

that drove the Second Circuit’s holding. And in this case, the alleged

communications (which are between business partners, and which

Plaintiffs themselves characterize as “vague,” id.) are a far cry from the

explicit price-fixing discussions between competitors at issue in

Publication Paper.

     Given the unremarkable nature of the communications at issue, the

district court held that it “will not infer a conspiracy simply because two

business partners chose to use phones to communicate.” Order at 38

(cleaned up). Its ruling was correct.

           4.    Plaintiffs’ allegations about “concerted
                 pretextual explanations” show that a collateral
                 demand, not a conspiracy, led to trading
                 restrictions.

     Next, Plaintiffs claim they have pleaded “concerted pretextual

explanations” that demonstrate a conspiracy.          App. Br. at 33.       The

problem for Plaintiffs here is that the alleged “pretextual explanations”

Robinhood made are, as the district court held, not pretextual. They

reflect the obvious alternative explanation for the trading restrictions:


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the $3 billion collateral requirement that the NSCC imposed on

Robinhood. Order at 38-41; Am. CCAC ¶¶ 178-79.

     Plaintiffs claim that Robinhood “made a number of inconsistent

statements” regarding the reason for imposing trading restrictions—

ranging from statements blaming “increased volatility,” “increased

NSCC collateral requirements,” and “liquidity problems.” App. Br. at 34.

But there is nothing inconsistent about these statements. Each of them

describes a piece of the January 2021 trading frenzy: unprecedented

levels of trading led to increased volatility in the market, which in turn

led to the $3 billion collateral call and liquidity pressure that Robinhood

faced. See Am. CCAC ¶¶ 87-90, 137, 178-180. Likewise, there is nothing

inconsistent about the alleged general benefit that Robinhood derives

from increased volatility and the alleged acute issue posed by the

collateral requirements. See App. Br. at 35. Finally, there is nothing

inconsistent about the district court’s holdings in the Antitrust and

Securities Tranches, because (as the district court found) only the

Securities Tranche plaintiffs acknowledged how collateral requirements

drove Robinhood’s decision to restrict trading. No facts are alleged that

permit a plausible inference that Robinhood agreed with Citadel



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Securities to restrict trading, and these purported “inconsistencies” do

not require a different finding.

           5.    Plaintiffs’ “market structure” and “market
                 behavior” allegations cut against a plausible
                 inference of conspiracy.

     Finally, Plaintiffs present a series of arguments claiming that

“market structure” and “market behavior” support an inference of

conspiracy. See App. Br. at 36-39. In doing so, they suggest that the

district court “misse[d] the point” and “misunderstood” their arguments.

Id. Plaintiffs are incorrect. The district court demonstrated a precise

understanding of Plaintiffs’ garbled market structure and market

behavior arguments and rightly rejected them.

     First, Plaintiffs criticize the district court for characterizing their

anticompetitive theory as “novel.” Id. at 37. But Plaintiffs’ market

structure argument is novel. In both of the cases Plaintiffs cite in support

of their “market structure” argument, id. at 37 n.14, the courts held that

“a market structure that is conducive to collusion” can be a plus factor in

support of an inference of a conspiracy where—importantly—the

defendants operate in the same market. Stanislaus Food Prods. Co. v.

USS-POSCO Indus., No. 1:09-cv-00560-LJO-BAM, 2013 WL 595122, at



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*11, *13 (E.D. Cal. Feb. 15, 2013), (granting motion for summary

judgment on antitrust claim where “[t]he record [ ] does not support a

reasonable inference that [the defendants] were part of any agreement to

allocate the market [for tin mill products]”), aff'd, 803 F.3d 1084 (9th Cir.

2015); see also In re Flat Glass Antitrust Litig., 385 F.3d 350, 356 (3d Cir.

2004) (“[P]laintiffs allege that PPG engaged in horizontal price-fixing–

i.e., where competitors at the same market level agree to fix or control

the prices they will charge for their respective goods or services.”

(internal quotation marks omitted)).

     That is not what Plaintiffs allege here. Plaintiffs explicitly allege

that Robinhood and Citadel Securities operate in different markets.

Compare Am. CCAC ¶ 306 (alleging that Citadel Securities operates in

the “upstream product market” of “market makers that pay brokerage

firms to route their clients’ trades to that market maker”), with id.

¶¶ 312-13 (alleging that Robinhood operates in the “downstream or

consumer-facing” “No-Fee Brokerage Trading App Market”).                     Yet,

confusingly, Plaintiffs’ market structure argument claims that the

“structural characteristics of the market in which Defendants operate” is

conducive to anticompetitive behavior because it includes “high barriers



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to entry, high fixed and low variable costs, payment for order flow, and a

captive short-term market.” App Br. at 36. Those allegations all relate

to the No-Fee Brokerage Trading App Market, Am. CCAC ¶ 373, a

market that is different from the market in which Citadel Securities

operates (the upstream market for market makers), see Am. CCAC ¶ 306)

and the market in which the alleged conspiracy took place (the securities

market), see Am. CCAC ¶ 1 (describing an “anticompetitive scheme to

restrict Retail Investors’ access to specific securities in the stock

market”).   Plaintiffs make no effort to explain how the structural

characteristics of one market make coordination from a participant in a

second market to create an anticompetitive effect in a third market more

likely—nor do they cite a single case suggesting that such an argument

has ever been accepted.

     Next, Plaintiffs claim that the district court “failed to consider

Plaintiffs’ allegations regarding the scope and timing of the other

brokerages’ purchasing restrictions.” App. Br. at 39. But Plaintiffs do

not explain why their allegations about other brokerages’ purchasing

restrictions support their conspiracy claims. Nor do Plaintiffs dispute

the district court’s commonsense observation that allegations regarding



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other brokerages’ trading restrictions cut against Plaintiffs’ conspiracy

claims, given that many other brokerages—including Ally, Dough,

Public.com, SoFi, Stash, Tastyworks, Webull, E*Trade, and Interactive

Brokers—“all implemented purchasing restrictions on January 28, 2021;

and none of these brokerages is alleged to be part of the conspiracy.”

Order at 42-43 (citing CCAC ¶¶ 195, 366-67).

     The district court was correct. Plaintiffs have not plausibly alleged

sufficient direct or indirect evidence of a conspiracy.

        D. The district court examined Plaintiffs’ allegations
            holistically

     Plaintiffs also challenge the district court’s holding on the basis

that “[i]t was error for the district court to not evaluate the evidence

holistically.” App. Br. at 39. They are correct that allegations must be

considered holistically, and the district court did just that.

     When reviewing the sufficiency of a plaintiff’s antitrust allegations

on a motion to dismiss, courts should avoid “tightly compartmentalizing

the various factual components and wiping the slate clean after scrutiny

of each.”   Quality Auto Painting, 917 F.3d at 1263 n.15 (internal

quotation marks omitted). The district court observed this rule. Even a

cursory read of the Order shows that the Court took a comprehensive


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view of the allegations in the Amended Complaint. See Order at 43

(providing a “recap” of Plaintiffs’ conspiracy allegations); id. at 44

(analyzing Plaintiffs’ conspiracy allegations “[a]ltogether”); id. at 51-52

(reviewing Plaintiffs’ conspiracy allegations as a whole). That the district

court also considered each of Plaintiffs’ arguments specifically hardly

negates the fact that the district court properly analyzed their allegations

as a whole.

                                 *   *    *

      In order to survive a motion to dismiss, an antitrust plaintiff’s

complaint must contain enough factual information “to raise a reasonable

expectation that discovery will reveal evidence of illegal agreement.”

Twombly, 550 U.S. at 556.       Here, despite already having had pre-

complaint discovery, Plaintiffs fall short of that standard. This Court

should affirm the district court’s ruling that Plaintiffs have failed to

plausibly allege a conspiracy under Section 1.

II.   The district court correctly found that Plaintiffs had not
      alleged a claim under the Rule of Reason

      To allege a vertical conspiracy claim under the Rule of Reason,

Plaintiffs must first allege “the relevant market in which the harm

occurs.” Jacobs, 626 F.3d at 1336 (affirming dismissal for failure to


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adequately plead a relevant market); Procaps S.A. v. Patheon, Inc., 845

F.3d 1072, 1084 (11th Cir. 2016) (plaintiff must plead “anticompetitive

effects” from the alleged restraint “in the relevant market” (internal

quotation marks omitted)).9 Plaintiffs contend that the district court

improperly concluded that they failed to allege harm in a relevant

market. See App. Br. at xiv; id. at 40. But Plaintiffs devote most of their

energy to whether they have standing to assert an antitrust claim. This

approach is mistaken. This was not the ground on which the district

court ruled, and antitrust standing is not an issue on appeal. “When a

court concludes that no [antitrust] violation has occurred, it has no

occasion to consider standing.” Levine v. Cent. Fla. Med. Affiliates, Inc.,

72 F.3d 1538, 1545 (11th Cir. 1996) (cleaned up).

     The district court properly concluded that the complaint failed to

allege an unreasonable restraint on trade.           In evaluating whether

Plaintiffs had alleged an anticompetitive effect on the relevant market,

the district court noted that “the harm should take place in the relevant


  9 Plaintiffs alleged a vertical agreement.     As the Supreme Court has
emphasized, alleged vertical conspiracies always require the court to
“first define[ ] the relevant market.” Am. Express, 138 S. Ct. at 2285 n.7.
This restriction relaxes for allegations of horizontal conspiracy, which are
not at issue here. Id.


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market the plaintiff has defined.” Order at 49. The district court then

held that “the alleged harm to competition occurred in an entirely

separate market from the markets Plaintiffs define. And Plaintiffs do

not even attempt to define that third, relevant market.” Id. at 51. The

district court reached the correct decision, and this Court should affirm.

       A. Because they never alleged the “relevant market” in
           which harm occurred, Plaintiffs failed to plead an
           unreasonable restraint

     For an alleged vertical conspiracy, Plaintiffs must allege the

“relevant product market” so that they may establish “harm to

competition in that market.” Jacobs, 626 F.3d at 1339. The Amended

Complaint alleges two markets. Am. CCAC ¶¶ 305-15. In the so-called

upstream “PFOF Market,” market makers “pay brokerage firms to route

their clients’ trades to that market maker.” Id. ¶ 306. Citadel Securities

is a participant in the alleged PFOF Market, along with other market

makers like G1 Execution Services, Global Execution Brokers, and Virtu

Americas.    Id.   They compete over handling brokerages’ orders in

exchange for PFOF. Id.

     In the so-called downstream “No-Fee Brokerage Trading App

Market,” brokerages who utilize mobile trading apps compete to “offer a



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user-friendly mobile app to Retail Investors.” Id. ¶ 312. They also obtain

payment for order flow from the market makers.              Id.    “The No-Fee

Brokerage Trading App Market consists of brokerages such as

Robinhood, Charles Schwab, E*Trade, TD Ameritrade, WeBull, and

others.” Id. ¶ 313. These brokerages compete to sign up customers who

would use their “user-friendly mobile app.” Id. ¶ 312. Participants in

this market must possess “significant IT infrastructure, software, and

data security infrastructure in order to develop and maintain the

applications through which investors trade.”            Id. ¶ 380.    When an

investor participates in this market, the investor chooses whether to

download the trading apps of Robinhood, Schwab, and others. See id.

¶¶ 312-13.

     Neither of these markets constitutes the relevant market in which

the supposed harm occurred. Plaintiffs do not allege harm in the PFOF

Market: they do not contend that there was reduced competition between

Citadel Securities and other market makers in setting PFOF rates. In

fact, Plaintiffs never allege (nor could they) that Citadel Securities

stopped filling orders in the relevant securities for each and every broker

that asked it to fill orders during the class period.



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     Plaintiffs also do not claim harm in the No-Fee Brokerage Trading

App Market.      As Plaintiffs emphasize in their brief, the No-Fee

Brokerage Trading App Market is “the consumer market where

Robinhood promoted and sold its no-fee brokerage trading services.” App.

Br. at 13. Plaintiffs do not allege that the agreement reduced competition

among “user-friendly mobile app[s].” Am. CCAC ¶ 312.

     Plaintiffs’ other allegations do not constitute harm in this market.

For instance, they allege that the conspiracy “reduce[d] the quality of

order execution” and produced “a quality degradation of the brokerage

services rendered” by Robinhood. Id. ¶¶ 3, 350. But these allegations do

not claim harm to competition in “the consumer market where Robinhood

promoted and sold its no-fee brokerage trading services.” App. Br. at 13.

The allegations do not describe a reduction in competition between

Robinhood and other brokerages for customers in the alleged No-Fee

Brokerage Trading App Market.           As the district court observed, the

“alleged   agreement    left   Ally,   Dough,      Public.com,       SoFi,   Stash,

Tastyworks, Webull, E*Trade, Interactive Brokers, and any other

brokerage free to adopt or eschew any policy they desired with respect to




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the Restricted Securities—or anything else, for that matter.” Order at

50.

      Instead of alleging harm to competition in these alleged markets,

Plaintiffs focus on a harm occurring in a separate market never

specifically addressed in the Amended Complaint—the market for

certain securities whose prices went down. Indeed, Plaintiffs contend

that Robinhood and Citadel Securities agreed to “restrict Retail

Investors’ access to specific securities in the stock market.” Am. CCAC

¶ 1 (emphasis added). Under the alleged agreement, Robinhood and

Citadel Securities sought to “suppress the prices of these securities[ ] and

to prevent the market from operating freely and fairly.” Id. In Plaintiffs’

words, the Appellees “reduced the price of the Relevant Securities that

Retail Investors either sold or held below the prices that they would have

otherwise obtained in a competitive market free of collusion.” Id. ¶ 16.

      Plaintiffs’ arguments ignore that “effective competition” over the

price of securities occurs in the securities markets, not the PFOF or No-

Fee Brokerage Trading App Markets. Am. Express, 138 S. Ct. at 2285

(internal quotation marks omitted). Market makers do not compete over

the price of individual securities in the PFOF Market. Brokerages do not



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compete over the price of individual securities in the No-Fee Brokerage

Trading App Market.

     It is unsurprising that Plaintiffs do not allege that the securities

market is the relevant market.     “[T]he purchase or sale of stock by

investors” does not constitute a cognizable market under the Sherman

Act. Kalmanovitz, 769 F.2d at 156 (emphasis omitted) (transactions

“concerning the stock of a single company” do not “constitute[ ] trade or

commerce within the meaning of § 1 of the Sherman Act”). Further, the

antitrust laws are impliedly precluded when the alleged conduct “lie[s]

squarely within an area of financial market activity that the securities

law seeks to regulate.” Credit Suisse Sec. (USA) LLC v. Billing, 551 U.S.

264, 276 (2007). Plaintiffs contort their arguments to avoid alleging that

the securities market comprises the relevant market. But by avoiding

the actual market in which the purported harm occurred, Plaintiffs failed

to allege the threshold element of a Rule of Reason claim—the relevant

market in which harm to competition occurred—and it dooms their claim.

     Rather than address settled case law regarding necessary

allegations of a relevant market in which the harm occurred, Plaintiffs

would brush it away. In their brief, Plaintiffs argue that it does not



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“matter . . . whether there is a connection between the defined markets

and where the harm occurred.” App. Br. at 43. But the Supreme Court,

the Eleventh Circuit, and many other courts have held that this

connection does matter.     Without connecting the alleged harm to a

defined, relevant market, the court could not assess its anticompetitive

effect. See, e.g., Am. Express, 138 S. Ct. at 2284-85; Jacobs, 626 F.3d at

1336; Levine, 72 F.3d at 1551.

     The requirement to identify the relevant market where the harm to

competition occurs flows naturally from the aims of the Sherman Act,

which “outlaws only unreasonable restraints.” Leegin Creative Leather

Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 885 (2007) (cleaned up). To

distinguish unreasonable restraints from other practices using the Rule

of Reason, courts consider “specific information about the relevant

business,” the “restraint’s history, nature, and effect,” and “market power

and market structure.” Id. at 885-86 (internal quotation marks omitted).

To do so, courts should be able to identify the “relevant market” in which

the alleged harm occurred. Levine, 72 F.3d at 1551. “Without a definition

of the market there is no way to measure the defendant’s ability to lessen

or destroy competition.” Am. Express, 138 S. Ct. at 2285 (cleaned up).



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For these reasons, “a plaintiff’s threshold burden under the Rule of

Reason analysis” is to “show[ ] a precise market definition.” Agnew v.

Nat’l Collegiate Athletic Ass’n, 683 F.3d 328, 337 (7th Cir. 2012). Given

Plaintiffs’ failure to allege a precisely defined market in which harm

occurred, the Court should affirm the dismissal.

       B. Plaintiffs’ antitrust standing arguments address a
            different question from the one on appeal

     Eschewing the challenges posed by the Rule of Reason analysis,

Plaintiffs attempt to focus the Court on a different question: whether

they have standing to assert an antitrust claim. See, e.g., App. Br. at 48.

Yet, as Plaintiffs concede elsewhere, standing is not at issue. See id. at

xiv (Statement of the Issues).      In its thoughtful reasoning on the

disconnect between the harms alleged and the markets alleged, the

district court noted a “curious gap” that was also “detrimental” to

Plaintiffs’ standing. Order at 48. Plaintiffs have attempted to use this

observation to recast the issue on appeal as a question of standing—but

standing was plainly not the basis for the district court’s holding that

Plaintiffs failed to allege a restraint of trade that caused harm in a

relevant market, which was entirely correct.




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           1.    Because Plaintiffs failed to allege a Section 1
                 claim, standing is not at issue.

     When a plaintiff fails to establish an antitrust claim, it is

unnecessary for the court to “decide whether [the plaintiff] has met the

requirements for standing as to any of his [or her] antitrust claims.”

Levine, 72 F.3d at 1545. “When a court concludes that no violation has

occurred, it has no occasion to consider standing.” Id. (cleaned up); see

also Jes Props., Inc. v. USA Equestrian, Inc., 458 F.3d 1224, 1228 (11th

Cir. 2006) (forgoing standing analysis after concluding that plaintiff had

not established an antitrust violation); Todorov v. DCH Healthcare Auth.,

921 F.2d 1438, 1455 (11th Cir. 1991) (affirming grant of summary

judgment on the merits, regardless of plaintiff’s standing to assert

antitrust claim). Other circuits have similarly adopted this common-

sense rule. See, e.g., Supermarket of Marlinton, Inc. v. Valley Rich Dairy,

161 F.3d 3, 4 n.39 (4th Cir. 1998) (per curiam); Dr.’s Hosp. of Jefferson,

Inc. v. Se. Med. All., Inc., 123 F.3d 301, 306 (5th Cir. 1997); Hairston v.

Pac. 10 Conf., 101 F.3d 1315, 1318 (9th Cir. 1996); Sicor Ltd. v. Cetus

Corp., 51 F.3d 848, 855 n.10 (9th Cir. 1995).

     Here, Plaintiffs have failed to allege a violation of Section 1 in at

least two ways: they did not plausibly allege an agreement and they


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failed to allege the relevant market. In arguing that they have standing

to assert a claim, they assumed a claim where none exists.                Their

arguments relating to standing do not cure either pleading failure.

            2.    Plaintiffs’ standing arguments do not address
                  their failure to allege a relevant market in which
                  the harm to competition occurred.

       In the order on appeal, the district court referred to antitrust

standing cases to illustrate how “the alleged harm to competition

occurred in an entirely separate market from the markets Plaintiffs

define.” Order at 51. Plaintiffs have seized on those citations to suggest

standing caselaw governs this issue. 10 Not so.

       Whether a given plaintiff identified the relevant market in which a

harm to competition occurred is distinct from whether a given plaintiff

suffered an antitrust injury. The standing inquiry looks into whether the




  10 Plaintiffs must satisfy standing as a separate—and additional—
element of their claim. Antitrust standing requires the plaintiff to show
several elements, including an “injury of the type the antitrust laws were
intended to prevent and that flows from that which makes defendants’
acts unlawful.” Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S.
477, 489 (1977). In the Eleventh Circuit, a plaintiff has antitrust injury
if he or she was “in the sector of the economy which is the target of the
antitrust violation.” Amey, Inc. v. Gulf Abstract & Title, Inc., 758 F.2d
1486, 1494 (11th Cir. 1985).


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plaintiff’s antitrust claim would advance the policies that Congress

intended the Sherman Act to achieve. Amey, 758 F.2d at 1493-94, 1500.

     Plaintiffs   primarily   rely   on    three    cases—McCready,         Loeb

Industries, and Construction Aggregate Transport—that all consider

whether a plaintiff alleged antitrust injury, an element of the standing

inquiry. In each, plaintiffs alleged or established harm in a relevant

market, and the question before the court was whether the plaintiffs’

injuries constituted antitrust injuries.      None of the cases evaluates

whether the plaintiff adequately alleged a definition of the market in

which the anticompetitive harm occurred, which is the issue on appeal.

     In McCready, the Supreme Court addressed whether the plaintiff

had standing after the district court found that respondent had

adequately pleaded harm in a relevant market—namely an insurance

company’s boycott to “exclude clinical psychologists from a segment of the

psychotherapy market.” Blue Shield of Va. v. McCready, 457 U.S. 465,

470 (1982). The Court concluded that McCready, a beneficiary of an

insurance policy, was injured by her insurer’s conspiracy to restrict

competition in the psychotherapy market by only reimbursing for

treatment from psychiatrists, not psychologists. Id. at 467. Unlike the



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McCready plaintiff, Plaintiffs have not alleged any harms occurring in

the PFOF Market and the No-Fee Brokerage Trading App Market.

     The other cases are no more helpful to Plaintiffs.                 In Loeb

Industries, the Seventh Circuit held that the district court erred in

finding on summary judgment that the plaintiffs did not have standing

to assert their antitrust claims. Loeb Indus., Inc. v. Sumitomo Corp., 306

F.3d 469, 481-84 (7th Cir. 2002).         As with McCready, the antitrust

violation itself was not in doubt: the claims arose after the defendants

had reached a settlement with the Commodities and Futures Trading

Commission regarding their conspiracy to fix the price of copper futures

at artificially high levels. The district court only permitted discovery into

whether plaintiffs had standing. Id. at 478.11 Similarly, the violation

was also not in question in Construction Aggregate Transport, Inc. v.

Florida Rock Industries, Inc., 710 F.2d 752 (11th Cir. 1983). In that case,

plaintiffs obtained a favorable jury verdict, and the only issue that the

defendant appealed was the plaintiffs’ standing to assert the claim. Id.


  11 Further, the Loeb Industries decision turned on the application of

Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977)—a Supreme Court case
involving indirect purchaser standing to bring an antitrust claim. Loeb
Indus., 306 F.3d at 498. Plaintiffs have not alleged an indirect purchaser
suit.


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at 762. The Eleventh Circuit noted that the complaint “clearly allege[d]”

that the defendant attempted to eliminate competition in the aggregate

hauling industry and therefore the court had no need to look at whether

the plaintiff had adequately defined the market in which harm occurred.

Id. at 763. Neither case sheds light on the issue on appeal.

     These cases and others on which Plaintiffs rely are irrelevant to

whether Plaintiffs failed to properly allege the markets in which

competition was harmed.12 While Plaintiffs may wish that this Court

would instead address whether they have standing, that is not the basis

on which the dismissal order rests and does not provide a ground on

which to reverse it.

        C. Plaintiffs’ remaining arguments do not reveal error

     None of Plaintiffs’ remaining arguments would require this Court

to reverse the district court.


  12 Brunswick Corp. v. Riegel Textile Corp., 752 F.2d 261, 271 (7th Cir.

1984) (assessing whether appellant possessed standing to assert an
antitrust claim); Gulf States Reorganization Grp., Inc. v. Nucor Corp.,
466 F.3d 961, 967 (11th Cir. 2006) (same); Associated Gen. Contractors of
Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 528 (1983)
(same); Midwestern Waffles, Inc. v. Waffle House, Inc., 734 F.2d 705, 721
(11th Cir. 1984) (per curiam); Ekbatani v. Cmty. Care Health Network,
LLC, No. 21-12322, 2022 WL 31793, at *2 (11th Cir. Jan. 4, 2022) (per
curiam) (same).


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     First, Plaintiffs contend that the Appellees and the district court

did not contest “Plaintiffs’ defined markets, the fact of Defendants’

market power in those markets, or that Plaintiffs suffered injury at the

hands of the Defendants.” App. Br. at 40. That is wrong. As Plaintiffs

themselves stated in the underlying briefing, “Defendants challenge the

relevant market.” App. Vol. III, Dkt. No. 459 at 25 n.29. Appellees’

briefing bears that out. Appellees argued that Plaintiffs failed to define

the market and they would not be able to “support their arbitrarily

narrow alleged markets, their claims of market power by either Citadel

Securities or Robinhood in their respective markets, or their claim that

there was any actual harm to competition.” App. Vol. II, Dkt. No. 456 at

22 n.17.    Because Plaintiffs failed to identify the relevant market,

Appellees noted that Plaintiffs could not “allege the necessary elements

to plead a claim under Section 1 of the Sherman Act under the rule of

reason.” Id. at 12. Contrary to Plaintiffs’ claim, Appellees identified all

of these deficiencies.

     Second, Plaintiffs raise in just a few sentences that the alleged

restraint may be affirmed as bribery. App. Br. at 41 n.16. This Court

does not need to address this argument, as the Eleventh Circuit does not



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consider arguments raised in “a perfunctory and conclusory manner.”

Nat’l Mining Ass’n v. United Steel Workers, 985 F.3d 1309, 1327 n.16

(11th Cir. 2021).

                                 *   *    *

     To allege an unlawful restraint of trade, Plaintiffs must allege the

relevant market in which the harm occurred. Plaintiffs took a different

approach: they alleged two markets and alleged harm relating to a third

market, involving the purchase and sale of securities that they did not

define in the Amended Complaint and which under long-standing

precedent is not the proper subject for an antitrust claim. Failure to

allege harm in a properly defined market is fatal to plaintiffs’ claim, and

the district court rightly dismissed on this basis.

                             CONCLUSION

     For the foregoing reasons, the judgment below should be affirmed.




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December 14, 2022                   Respectfully submitted,

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